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                    EXHIBIT 11
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Convention & Trade Show
Standard Marketing Material Order as of March 2012




                    Ship to Address: Harvard Drug Group Trade Partner Expo 2012




          Revision                                                        Unit of       Qty
Item #     Date Description                                               Measure    Requested
                   Harvard Drug
GN33318   2010/06 Fentanyl Lozenge Brochures                              Ea.
GH33302   2011/02 Fentanyl Patch Brochures                                Ea.
GN00044   2011/03 Generic Catalogs                                        Ea.
GN11127   2011/10 Unit Do e Product Brochure                              Ea
GN3471    2011/10 Hydrocodone Bitartrate and Aceteminophen Brochures      Ea.
GN05123   2011/10 Oxycodone Hydrochloride Brochures                       Ea.
GN83170   2010/05 Morphine Sulfate Extended-Release Brochures             Ea.
                  Morphine Oral Solutions                                 Ea.
n/a         n/a   Corporate Product Monitoring Cards                      Ea.
n/a         n/a   Pain Management Pocketcard Set                          Pk of 10
CA-001F     n/a   CARES Alliance Business Cards                           Pk of 25
                  Pharmacist's Manual (An informational Outline of the
CA-200      n/a   Controlled Substances Act)                              Ea.
GN03472           Ease Your Pain - A Guide to Feeling Better Pamphlet
n/a         n/a   Oxford American Pocket Cards (OAPC) Breakthrough Pain
n/a         n/a   CE Lesson - Power-Pak C.E.
GN89581   04/2012 Dextroamphetamine Sulfate Extended-Release Capsules
